     Case: 3:20-cv-00012-RAM-RM Document #: 1 Filed: 01/31/20 Page 1 of 6




                     DISTRICT COURT FOR THE DISTRICT OF
                             THE VIRGIN ISLANDS
                     DIVISION OF ST. THOMAS AND ST. JOHN


DISCOVER GROWTH FUND, LLC             )
and JOHN KIRKLAND,                    )
                                      )
            Plaintiffs,               )
                                      )
            v.                        )       Civil Action No. _______________
                                      )
GBT TECHNOLOGIES, INC.,               )
                                      )
                 Defendant.           )




                   APPLICATION TO CONFIRM ARBITRATION AWARD




       Plaintiffs DISCOVER GROWTH FUND, LLC (“DISCOVER”) and JOHN

KIRKLAND (“KIRKLAND”, and collectively with DISCOVER, “PLAINTIFFS”)

apply for an order confirming the arbitration award entered in their favor and

against Defendant GBT TECHNOLOGIES, INC., formerly known as GOPHER

PROTOCOL, INC. (“DEFENDANT” or “GOPHER”). In support of this application,

PLAINTIFFS aver,

                                Nature of Action

1.     This is an Application to Confirm Arbitration Award brought pursuant to the

       Federal Arbitration Act (“FAA”), 9 U.S.C. § 1, et seq. A Final Award was

       made on January 31, 2020, a copy of which is attached as Exhibit 1


                                          1
     Case: 3:20-cv-00012-RAM-RM Document #: 1 Filed: 01/31/20 Page 2 of 6




       (“AWARD”). Pursuant to 9 U.S.C. § 9, PLAINTIFFS hereby apply for an

       order confirming the AWARD.

2.     The AWARD was made pursuant to Section VI.H of a Securities Purchase

       Agreement, a copy of which is attached hereto as Exhibit 2 (“AGREEMENT”),

       which is a written provision to settle by arbitration any controversy

       thereafter arising out of such contract.

                             Jurisdiction and Venue

3.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)

       because this is an action between citizens of different states, and the amount

       in controversy exceeds $75,000.00. In addition, this Court has subject matter

       jurisdiction pursuant to 28 U.S.C. § 1331 and original jurisdiction pursuant

       to 15 U.S.C. § 78aa, because in the underlying arbitration GOPHER alleged

       violations of federal law, specifically 15 U.S.C. § 78a et seq.

4.     Venue properly lies in the District of the Virgin Islands pursuant to 28 U.S.C.

       § 1391(b)(2) and (3), and 9 U.S.C. § 9, because this is the district specified in

       the agreement of the parties and within which such award was made.

                                     The Parties

5.     DISCOVER is a Limited Liability Company organized under the laws of the

       United States Virgin Islands with its principal place of business in the U.S.

       Virgin Islands, and at all times pertinent to this matter had a St. Thomas

       physical and postal address of 5330 Yacht Haven Grande, Ste 206, St.

       Thomas, VI 00802. DISCOVER is a citizen of the U.S. Virgin Islands. The



                                           2
     Case: 3:20-cv-00012-RAM-RM Document #: 1 Filed: 01/31/20 Page 3 of 6




       sole member of DISCOVER is Discover Fund Management, LLLP, a U.S.

       Virgin Islands limited liability limited partnership, whose general partner is

       Discover Fund Management, Inc., a U.S. Virgin Islands corporation with its

       principal place of business in the U.S. Virgin Islands, and whose limited

       partners are natural persons who permanently reside in the U.S. Virgin

       Islands.

6.     KIRKLAND is an individual who permanently resides in St. Thomas, U.S.

       Virgin Islands. KIRKLAND is a citizen of the U.S. Virgin Islands.

7.     DEFENDANT is a Corporation organized under the laws of Nevada with its

       principal place of business in California, and at all times pertinent to this

       matter had a Santa Monica physical and postal address of 2500 Broadway,

       Suite F-125, Santa Monica, CA 90404. DEFENDANT is a citizen of Nevada

       and California.

8.     DEFENDANT’s name was previously Gopher Protocol, Inc. Effective July

       11, 2019, DEFENDANT changed its name to GBT Technologies, Inc., as

       shown in the Name History for the Corporation with the Nevada Secretary

       of State and Form 8-K filed with the United States Securities and Exchange

       Commission, both of which are attached hereto as Composite Exhibit 3.

                             Arbitration Agreement

9.     On December 3, 2018, DISCOVER and GOPHER entered into the

       AGREEMENT attached hereto as Exhibit 2, which provided for the purchase

       of a Debenture and Warrant for a purchase price of $7,500,000.00. Section



                                          3
      Case: 3:20-cv-00012-RAM-RM Document #: 1 Filed: 01/31/20 Page 4 of 6




        VI.H on page 22 of the AGREEMENT is a written provision to settle by

        arbitration any controversy thereafter arising out of such contract.

                               Arbitration Proceeding

10.     On June 7, 2019, GOPHER submitted a Demand for Arbitration Form to

        JAMS, initiating an arbitration proceeding against PLAINTIFFS, a copy of

        which is attached as Exhibit 4. GOPHER requested that an arbitration

        hearing be held in St. Thomas, U.S. Virgin Islands. The arbitration was

        assigned JAMS Reference No. 1260005395.

11.     On July 26, 2019, PLAINTIFFS submitted their Response, Affirmative

        Defenses, and Counterclaims, a copy of which is attached as Exhibit 5.

12.     Hon. Philip M. Pro (Ret.), a former United States District Judge, was

        appointed by JAMS as the Arbitrator. Judge Pro was GOPHER’s first choice

        for Arbitrator in the proceeding.

13.     On November 5 and 6, 2019, an arbitration hearing was held in St. Thomas,

        U.S. Virgin Islands.

                                     The Award

14.     On December 23, 2019, the Arbitrator made an Interim Award, a copy of

        which is attached as Exhibit 6.

15.     On January 27, 2020, the Arbitrator made the AWARD, a copy of which is

        attached as Exhibit 1.




                                            4
      Case: 3:20-cv-00012-RAM-RM Document #: 1 Filed: 01/31/20 Page 5 of 6




                               Confirmation of the Award

16.     The AWARD should now be confirmed pursuant to Section 9 of the Federal

        Arbitration Act (“FAA”), 9 U.S.C. § 9.

17.     “A district court’s review of the underlying arbitration award is extremely

        deferential. The FAA provides narrow and exclusive bases for vacating an

        award. A court must confirm an arbitration award unless: (1) it was procured

        by corruption, fraud, or undue means; (2) the arbitrators demonstrated

        partiality or corruption; (3) they were guilty of misconduct; or (4) they

        exceeded their powers.      As such, confirmation of an arbitration award

        ordinarily is a summary proceeding that merely makes what is already a final

        arbitration award a judgment of the court.” ACE Insurance Company of

        Puerto Rico v. Nolasco Communications, Inc., 2018 WL 1020117 (D.V.I. 2018)

        (citations omitted).

18.     No grounds exist for vacating the AWARD, because (1) the AWARD was not

        procured by corruption, fraud, or undue means; (2) the Arbitrator did not

        demonstrate partiality or corruption; (3) the Arbitrator was not guilty of

        misconduct; and (4) the Arbitrator did not exceed his powers. Accordingly,

        the Court must confirm the AWARD.

       WHEREFORE, Plaintiffs DISCOVER GROWTH FUND, LLC and JOHN

KIRKLAND respectfully request that the AWARD attached hereto as Exhibit 1 be

confirmed and that judgment be entered pursuant thereto, in favor of DISCOVER

GROWTH FUND, LLC and JOHN KIRKLAND, and against Defendant GBT



                                           5
     Case: 3:20-cv-00012-RAM-RM Document #: 1 Filed: 01/31/20 Page 6 of 6




TECHNOLOGIES, INC., formerly known as GOPHER PROTOCOL, INC, as set

forth in the AWARD, plus post-judgment interest at the rate set in accordance with

28 U.S.C. § 1961.

                                 Respectfully submitted,



                                   /s/ Robert Goldsmith
                                 Robert V. Goldsmith III
                                 Attorney for Plaintiffs
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                                 P.O. Box 6347
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                                 trey@marjorierobertspc.com




                                 VERIFICATION

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the

laws of the United States of America that the foregoing is true and correct.



                                   /s/ John Kirkland
                                 John Kirkland
                                 President of General Partner of Sole Member
                                 Discover Growth Fund, LLC




                                          6
